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 7                                 UNITED STATES DISTRICT COURT
 8                                SOUTHERN DISTRICT OF CALIFORNIA
 9                                       January 2016 Grand Jury
10   UNITED STATES OF AMERICA,                         Case No.
                                                                            18CR0089LAB
11                          Plaintiff,                 _! ~   Q   f    f ! !i         ~ ~ T
12            V.                                       Title 18, U.S.C., Sec. 1708 -
                                                       Theft or Possession of Stolen
13   SETHA JOE SOUNTHONPHOM,                           Mail; Title 18, U.S.C.,
14                                                     Sec. 1344(2) - Bank Fraud;
                            Defendant.                 Title 18, U.S.C.,
                                                       Secs . 9 81 (a) ( 1) ( C) and 9 8 2 (a) ( 2 ) ,
15
                                                       Title 28, U.S.C., Sec. 2461(c) -
16                                                     Criminal Forfeiture

17           The grand jury charges:
18                                            Count 1
                                     POSSESSION OF STOLEN MAIL
19                                       (18 u.s.c. § 1708)

20           1.    On or about September 11, 2017, within the Southern District

21   of     California,      defendant       SETHA   JOE      SOUNTHONPHOM                     did         receive       and
22   unlawfully      have    in    his    possession    mail,          and         an      article                and   thing

23   contained therein,           to wit: check #5685,         dated September 6,                               2017, made

24   payable to Setha SOUNTHONPHOM in amount of $2,398.00 drawn on an account

25   at California Bank & Trust, which had been stolen, taken, and abstracted

26   from a letter box, mail receptacle, and authorized depository for mail
27   matter, knowing the same to have been stolen, taken, and abstracted; in

28   violation of Title 18, United States Code, Section 1708.


     TDC:nlv:San Diego:l/2/18
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                                                 Count 2
 1                                      POSSESSION OF STOLEN MAIL
                                            (18 u.s.c. § 1708)
 2

 3           2.         On or about September 12, 2017, within the Southern District

 4   of    California,          defendant     SETHA     JOE       SOUNTHONPHOM     did     receive    and

 5   unlawfully          have   in    his   possession       mail,     and   an   article    and     thing
 6
     contained therein,              to wit: check #5688, dated September 6,                2017, made
 7
     payable to Setha SOUNTHONPHOM in amount of $2,425.00, drawn on an account
 8
     at California Bank & Trust, which had been stolen, taken, and abstracted
 9
     from a letter box, mail receptacle, and authorized depository for mail
10

11   matter, knowing the same to have been stolen, taken, and abstracted; in

12   violation of Title 18, United States Code, Section 1708.

13                                                 Count 3
                                                 BANK FRAUD
14                                          (18 u.s.c. § 1344(2))
15           3.         On or about September 11, 2017, within the Southern District
16   of     California,         defendant       SETHA       JOE      SOUNTHONPHOM     knowingly        and
17   intentionally executed a material scheme and artifice to obtain money,
18   funds        and    property     owned by    and       under    the   custody   and    control     of
19   California Bank & Trust, a financial institution, by means of material
20   false and fraudulent pretenses,                  representations and promises,            to wit:
21   SOUNTHONPHOM altered, endorsed without authorization, and negotiated a
22   stolen check in the amount of $2,398.00; in violation of Title 18, United
23   States Code, Section 1344(2).
24   II
25   II
26   II
27   II
28   II
                                                        2
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 1                                                   Count 4
                                                   BANK FRAUD
 2
                                            (18   u.s.c.       § 1344(2))
 3                      On or about September 12, 2017, within the Southern District
             4.
 4
     of     California,        defendant          SETHA        JOE   SOUNTHONPHOM      knowingly      and
 5
     intentionally executed a material scheme and artifice to obtain money,
 6
     funds        and    property    owned    by    and    under     the    custody   and   control    of
 7
     California Bank & Trust, a financial institution, by means of material
 8
     false and fraudulent pretenses,                  representations and promises,            to wit:
 9
     altered, endorsed without authorization, and negotiated a stolen check
10   in the amount of $2425.00; in violation of Title 18, United States Code,
11
     Section 1344(2).
12                                   CRIMINAL FORFEITURE ALLEGATIONS
13           5.         The allegations contained in paragraphs 1 through 4 of this
14   Indictment are hereby re-alleged and incorporated by reference for the
15   purpose of alleging forfeiture to the United States pursuant to Title 18,
16
     United States Code, Sections 981 (a) (1) (C) and 982 (a) (2), and Title 28,
17   United States Code,            Section 246l(c).
18
             6.         Upon conviction of one or more of the offenses set forth in
19   Counts             through 4,    possession of             stolen mail,
                   1                                                             and bank    fraud,    in
20
     violation of Title 18, United States Code,                        Sections 1708 and 1344(2),
21   defendant SETHA JOE SOUNTHONPHOM,                     shall forfeit to the United States,
22   any     property,       real     and     personal,          constituting,    derived    from,     or
23   traceable to violations set forth in Counts 1 and 2,                             and any property
24
     constituting or derived from proceeds the defendant obtained directly
25
     or indirectly from the violations set forth in Counts 3 and 4.                                   The
26
     defendant is further notified that the United States will seek criminal
27
     forfeiture against him in an amount not less than $10,000.00.
28
                                                           3
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 1        7.   If any of the property described above, as a result of any act

 2   or omission of the defendant:

 3             (a)         cannot be located upon the exercise of due diligence;

 4             (b)         has been transferred or sold to,   or deposited with,      a

 5                         third party;

 6             (c)         has been placed beyond the jurisdiction of the court;

 7              (d)        has been substantially diminished in value; or

 8              (e)        has been commingled with other property which cannot be

 9                         divided without difficulty,

10   it is the intent of the United States,          pursuant to Title 21,       United

11   States Code, Section 853(p), made applicable herein by Title 28, United

12   States Code, Section 246l(c) and Title 18, United States Code, Section

13   982(b), to seek forfeiture of any other property of the defendant up to

14   the value of the property described above as being subject to forfeiture.

15   All pursuant to Title 18, United States Code, Sections 981 (a) (1) (c) and

16   982(a) (2), and Title 28, United States Code, Section 2461(c).

17        DATED:      January 3, 2018.

18                                                  A TRUE BILL:

19

20

21   ADAM L. BRAVERMAN
     United States Attorney
22

23   By&g/~li
        ?THY COUGHLIN D~
                                     =
24        Assistant U.S. Attorney
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